                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 VERNA STEVERSON and DAVIS
 STEVERSON,
                                                    Case No. 3:19-cv-00140
         Plaintiffs,
                                                    Chief Judge Waverly D. Crenshaw, Jr.
 v.                                                 Magistrate Judge Alistair E. Newbern

 WALMART, et al.,

         Defendants.


                                              ORDER

        Plaintiffs Verna Steverson and Davis Steverson have responded to the Court’s order to

show cause (Doc. No. 33) with a motion for an extension of time in which to respond to the pending

motions to dismiss (Doc. No. 34). The Court finds that Plaintiffs have adequately addressed the

show-cause order and will GRANT the motion for an extension of time.

        Plaintiffs shall file any responses in opposition to the motions to dismiss filed by

Defendants Ozark Electronics (Doc. No. 6), Cincinnati Insurance Company (Doc. No. 9), Walmart

(Doc. No. 14), CMI Claims Management (Doc. No. 17), GE Appliances (Doc. No. 20), and Gree

Manufacturing Company (Doc. No. 24) by no later than May 27, 2019.

        Plaintiffs are forewarned that failure to respond in opposition to the motions to dismiss

may result in a recommendation that the motions be granted as unopposed or that this case be

dismissed for Plaintiffs’ failure to prosecute their claims.

        It is so ORDERED.

                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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